Case 8-19-73236-las Doc16 Filed 07/08/19 Entered 07/08/19 13:21:49

UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK Chapter 7
InRe *
ANNA M. SACKOLWITZ, Case No.: 8-19-73236-las
Debtor(s).
wee eee ee eee eee ee eee eee eee xX

AFFIDAVIT PURSUANT TO LOCAL RULE 1009-1(a)
ANNA M. SACKOLWITZ, the debtors herein, swears as follows:
1) Debtor filed a petition under Chapter 7 of the Bankruptcy Code on May 3, 2019.
2) Filed herewith is an amendment to Schedule “A/B” previously filed herein.
3) The change to Schedule “A/B” amends market value of the debtor's primary

residence erroneously omitted in the original filing.

Dated: June 28, 2019 /s/ Anna M. Sackolwitz
ANNA M. SACKOLWITZ

Sworn to before me this
28" day of June, 2019

/s/Angela A. Yadgaroff

Notary Public of the State of New York
ID No.: 01YA6206614

Qualified in Queens County
Commission Expires on May 26, 2021
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UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK Chapter 7
Re *
ANNA M. SACKOLWITZ, Case No.: 8-19-73236-las
Debtor(s). x AFFIDAVIT OF MAILING

STATE OF NEW YORK _ )
COUNTY OF NASSAU _ )

ANGELA A. YADGAROFF, being duly sworn, say: | am not a party to the action, am
over 18 years of age and reside in Queens County, New York. On June 28, 2019,
| served the within

AMENDED SCHEDULE “A/B”

by depositing a true copy thereof enclosed in a post-paid wrapper, in an official depository
under the exclusive care and custody of the U.S. Postal Service within New York State,
addressed to each of the following persons at the last known address set forth after each
name:

United States Trustee Office
Long Island Federal Courthouse
560 Federal Plaza Room 560
Central Islip, NY 11722 4437

Trustee

R Kenneth Barnard

3305 Jerusalem Avenue

Suite 215

Wantagh, NY 11793 Y

Dated: July 8, 2019 /,
OE

 

MICHAEL J. CIARAVINO
ry Public, State of New York
eee
ATE in Queens un
Commission Expires Apri 17-502
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Fillin this information to identify.your case and this filing:

Debtor 1 Anna M. Sackolwitz

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number 8-19-73236 0 Check if this is an
amended filing

 

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

in each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any Segal or equitable interest in any residence, building, land, or similar property?

1 No. Go to Part 2.
Mi ves. Where is the property?

 

 

 

 

 

1.41 What is the property? Check all that apply
177 Roberta Street Hi Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description Duplex or multi-unit buildin the amount of any secured claims on Schedule D:
0 P g Creditors Who Have Claims Secured by Property.
Oo Condominium or cooperative
OO Manufactured or mobile home
Current value of the Current value of the
Valley Stream NY 11580-0000 (Land entire property? portion you own?
City State ZIP Code C1 Investment property $522,000.00 $522,000.00
(1 Timeshare .
Describe the nature of your ownership interest
1 Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
ME Debtor 1 only Tenants in Entirety
Nassau [Debtor 2 only
County C1] Debtor 1 and Debtor 2 only

Check if this is community property
C) Atleast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here... cccsssseseeeseessenesesesseeaneeessaneseesseresaaeeeeaane => $522,000.00

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

 

Official Form 106A/B Schedule A/B: Property page 1
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Debtor 1 Anna M. Sackolwitz Case number (ifknown) §8-19-73236

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

CI No
Ei Yes
: Toyota ; ; ° Do not deduct secured claims or exemptions. Put
3.1. Make: y _ _ Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Model: Camry IB Debtor 4 only Creditors Who Have Claims Secured by Property.
Year: 1999 C1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 100000 C1 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: [7] At least one of the debtors and another
|
C] Check if this is community property $1,000.00 $1,000.00
{see instructions)

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

E No
[] Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
-pages you have attached for Part 2. Write that number here............ ce cescssscccesecseccseessaeesssesenaceeneavsneeserseeesanes => $1,000.00

 

 

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

C1 No
Mi Yes. Describe...

 

| Household goods and furnishings | $1,500.00

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games
C1 No

Wi ves. Describe...

 

'TV & Computers $600.00

 

 

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

EE No
Cl] Yes. Describe.....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

MNo
[J Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

HNo

Official Form 106A/B Schedule A/B: Property page 2
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Debtor 4 Anna M. Sackolwitz Case number (ifknown) 8-19-73236

[] Yes. Describe...

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

C1 No
Ml Yes. Describe.....

 

| Wearing Apparel . $500.00

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

C] No
Ei Yes. Describe...

 

| Gold wedding bend,ssilver ring, costume jewelry _ $800.00

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

BNo
C Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list

BNo

Cl Yes. Give specific information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

 

 

 

for Part 3. Write that number here... cc csscsssecseneceeserecssesesteanssassaresenseeseeseneneeseey __ $3,400.00
Ea Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

[1 No

Cash ____ $20.00

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.
[I No

Byes institution name:

Queens County Savings Bank checking
17.1. account ending in 9635 $700.00

 

 

Queens County Savings Bank Checking
17.2. account (joint) ending in 0142 $100.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

MNo
i 2-5 ee Institution or issuer name:
Official Form 106A/B Schedule A/B: Property page 3

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Debtor 1 Anna M. Sackolwitz Case number (ifknown) §-19-73236

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

ENo

[J Yes. Give specific information about them...
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

EI No

C] Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
ONo

EB Yes. List each account separately.
Type of account: Institution name:

Tax deffered pansion through employer (NYC
DOE) $0.00

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

BNo

| ee Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
BNo

OO Yes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b){1).

BNo
D1 vYes............. Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
MNo

Cl] Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

BNo
01 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

MNo

C) Yes. Give specific information about them...

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

Official Form 106A/B Schedule A/B: Property page 4

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Debtor? Anna M. Sackolwitz Case number (ifknown} §8-19-73236

28. Tax refunds owed to you
[No

E ves. Give specific information about them, including whether you already filed the returns and the tax years.......

 

 

 

2018 Tax refund reppossed by IRS $0.00

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
EINo

C Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

Zino
[ Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

E No

C) Yes. Name the insurance company of each policy and list its value.

Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

No

(J Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

HNo
C] Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
BiNo

OC] Yes. Describe each claim.........

35. Any financial assets you did not already list
BNo

Cl Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here... cssecseseessenseesenssaeseeeeceesasseeeseensecseesavasderatsaesanesseesaeseeseaereansaessanenessness $820.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.

[J Yes. Go to line 38.

mame Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
WB No. Go to Part 7.

Official Form 106A/B Schedule A/B: Property page 5
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Debtor1 Anna M. Sackolwitz Case number (if known) §-19-73236

(Cl Yes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

EANo

CJ Yes. Give specific information.........

 

 

 

 

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here .............cccsecceecerenere $0.00
List the Totals of Each Part of this Form
55. Part 1: Total real estate, ime 2 oo... esessseesecceessesesetsenseneronssucnsonsescnasnenesuesacesssnsaserseveassascedsontensenanennenneressens $522,000.00
56. Part 2: Total vehicles, line 5 _ $1,000.00
57. Part 3: Total personal and household items, line 15 $3,400.00.
58. Part 4: Total financial assets, line 36 $820.00
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00
62. Total personal property. Add lines 56 through 61... ___ $5,220.00 Copy personal property total $5,220.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $527,220.00
Official Form 106A/B Schedule A/B: Property page 6

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